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                                               United States Bankruptcy Court
                                                Middle District of Florida
In re:                                                                                                     Case No. 17-00142-CCJ
Ormarir Montero                                                                                            Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113A-6                  User: cfaye                        Page 1 of 1                          Date Rcvd: Apr 13, 2017
                                      Form ID: B18                       Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 15, 2017.
db             +Ormarir Montero,   14325 Waterford Chase Pkwy,   Orlando, FL 32828-6612
26691229        Wells Fargp Home Mortgage,   Written Correspondence Resolutions,   Mac#2302-04e- Pob 10335,
                 Des Moines, IA 50306
26691225        iQuantified Management Serv,   2821 S Parker Rd Ste 305,   Aurora, CO 80014-2748

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
26691217       +E-mail/Text: bankruptcynotice@1fbusa.com Apr 13 2017 22:03:35        1st Financial Bank USA,
                 Attn: Bankruptcy,    PO Box 1200,   North Sioux City, SD 57049-1200
26691218       +EDI: CAPITALONE.COM Apr 14 2017 06:14:00       Capital One,   PO Box 30285,
                 Salt Lake City, UT 84130-0285
26691219       +EDI: CAPITALONE.COM Apr 14 2017 06:14:00       Capital One/Best Buy,    PO Box 30285,
                 Salt Lake City, UT 84130-0285
26691220        E-mail/Text: cms-bk@cms-collect.com Apr 13 2017 22:03:28        Captial Management Services,
                 698 1/2 S Ogden St,    Buffalo, NY 14206-2317
26691221       +EDI: CAUT.COM Apr 14 2017 06:13:00       Chase Auto Finance,    National Bankruptcy Dept,
                 201 N Central Ave Ms Az1-1191,    Phoenix, AZ 85004-1071
26691222       +EDI: CREDPROT.COM Apr 14 2017 06:13:00       Credit Protection Assoc,    PO Box 802068,
                 Dallas, TX 75380-2068
26691223       +E-mail/Text: electronicbkydocs@nelnet.net Apr 13 2017 22:03:45        Dept Of Ed/582/nelnet,
                 Attn: Claims/Bankruptcy,    Po Box 82505,    Lincoln, NE 68501-2505
26691224       +EDI: DISCOVER.COM Apr 14 2017 06:13:00       Discover Financial,    Po Box 3025,
                 New Albany, OH 43054-3025
26691215        EDI: FLDEPREV.COM Apr 14 2017 06:13:00       Florida Department of Revenue,    Bankruptcy Unit,
                 Post Office Box 6668,    Tallahassee FL 32314-6668
26691216        EDI: IRS.COM Apr 14 2017 06:14:00      Internal Revenue Service,     Post Office Box 7346,
                 Philadelphia PA 19101-7346
26691226       +E-mail/Text: electronicbkydocs@nelnet.net Apr 13 2017 22:03:45        Nelnet Loans,
                 Nelnet Claims,    Po Box 82505,   Lincoln, NE 68501-2505
26691214       +E-mail/Text: Bankruptcy@octaxcol.com Apr 13 2017 22:03:11        Orange County Tax Collector,
                 PO Box 545100,    Orlando FL 32854-5100
26691227       +EDI: RMSC.COM Apr 14 2017 06:14:00       Syncb/Ashley Homestore,    PO Box 965064,
                 Orlando, FL 32896-5064
26691228       +EDI: WFFC.COM Apr 14 2017 06:13:00       Wells Fargo Bank Card,    Mac F82535-02f,    PO Box 10438,
                 Des Moines, IA 50306-0438
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 15, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 13, 2017 at the address(es) listed below:
              Alejandro Rivera    on behalf of Debtor Ormarir Montero Rivera@riveraatlaw.com,
               Bankruptcy1400@gmail.com
              Gene T Chambers   gtchambers@cfl.rr.com, gtc@trustesolutions.com;gtc@trustesolutions.net
              United States Trustee - ORL7/13   USTP.Region21.OR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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                                      United States Bankruptcy Court
                                                Middle District of Florida
                                              Case No. 6:17−bk−00142−CCJ
                                                        Chapter 7

In re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
    Ormarir Montero
    14325 Waterford Chase Pkwy
    Orlando, FL 32828
Social Security No.:
   xxx−xx−7057
Employer's Tax I.D. No.:



                                             DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,

IT IS ORDERED:

The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                 ____________________________________________
         Dated: April 13, 2017                   Cynthia C. Jackson
                                                 United States Bankruptcy Judge



                       SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                        EXPLANATION OF BANKRUPTCY DISCHARGE
                                                 IN A CHAPTER 7 CASE
      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does
not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages or
other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving community
property: There are also special rules that protect certain community property owned by the debtor's spouse, even if that
spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay damages and attorney's
fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a debtor
may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7 , the discharge applies to debts owed when
the bankruptcy case was converted.)
Debts that are Not Discharged.

     Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

     a. Debts for most taxes;

     b. Debts incurred to pay nondischargeable taxes;

     c. Debts that are domestic support obligations;

     d. Debts for most student loans;

     e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

     f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft while intoxicated;

     g. Some debts which were not properly listed by the debtor;

     h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not discharged;

     i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in compliance with the
     Bankruptcy Code requirements for reaffirmation of debts; and

     j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings Plan for federal employees for
     certain types of loans from these plans.




      This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact effect of
the discharge in this case.
